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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


  UNITED STATES OF AMERICA

  v.                                                    Case No. 8:03-cr-77-T-30TBM

  SAMI AMIN AL-ARIAN
  SAMEEH HAMMOUDEH
  GHASSAN ZAYED BALLUT
  HATIM NAJI FARIZ
  ____________________________________

                                          ORDER

        This cause came on for consideration upon Defendant Fariz’s First Motion in Limine

  to Preclude the Admission of Irrelevant and Prejudicial Evidence (Dkt. #S-21), filed under

  seal on May 10, 2005. Defendant asks that the Government be precluded from referring to

  or introducing into evidence various information that Defendant maintains should be

  excluded under Fed. R. Evid. 401, 402, and 403. A hearing on Defendant’s Motion was held

  on May 19, 2005.

        After consideration, this Court finds that the following categories of information

  identified in the Motion should be excluded:

        1) the information in section II, paragraph 1 of the Motion, except for the evidence
        identified by the Government pertaining to the 1993 World Trade Center bombings;

        2) the information in section II, paragraph 2 of the Motion, but only as to comparisons
        made by Government witnesses between the Defendants or the Palestinian Islamic
        Jihad and other individuals or terrorist groups. Evidence of similar comparisons made
        by the Defendants [or other coconspirators] themselves may be introduced by the
        Government;
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            3) the information in section II, paragraph 3 of the Motion, except evidence of
            comparisons made by the Defendants [or other coconspirators] themselves;

            4) the information in section II, paragraph 8 of the Motion;

            5) the information in section II, paragraph 9 of the Motion;

            6) the information in section II, paragraph 11 of the Motion;

            7) the information in section II, paragraph 14 of the Motion; and

            8) the information in section II, paragraph 15 of the Motion, but only to the extent that
            the Government intends to use the evidence to argue that the Defendants adopted the
            information displayed on the posters without first establishing such an adoption
            through other evidence.

            It is therefore ORDERED and ADJUDGED that Defendant Fariz’s First Motion in

  Limine to Preclude the Admission of Irrelevant and Prejudicial Evidence (Dkt. #S-21) is

  GRANTED in part and DENIED in part as stated herein.

            DONE and ORDERED in Tampa, Florida on May 20, 2005.




  Copies furnished to:
  Counsel/Parties of Record


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